
668 S.E.2d 569 (2008)
STATE of North Carolina
v.
William Abdullah MUSTAFA.
No. 176P08.
Supreme Court of North Carolina.
October 9, 2008.
William A. Mustafa, Pro Se.
LaToya B. Powell, Associate Attorney General, Robert F. Johnson, District Attorney, for State.

ORDER
Upon consideration of the petition filed by Defendant on the 14th day of April 2008 in this matter for a writ of certiorari to review the order of the Superior Court, Alamance County, the following order was entered and is hereby certified to the Superior Court of that County:
"Dismissed by order of the Court in conference, this the 9th day of October 2008."
